Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 1 of 15 Page ID #:1231




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  10                      UNITED STATES DISTRICT COURT
  11                    CENTRAL DISTRICT OF CALIFORNIA
  12
  13   BLUE OAK MEDICAL GROUP, A             Case No. 2:18-cv-03867-RGK-SK
  14   MEDICAL CORPORATION, a
       California Medical Corporation,       DEFENDANT STATE
  15                                         COMPENSATION INSURANCE
  16                   Plaintiff,            FUND’S REPLY TO DEFENDANT
                                             STATE COMPENSATION
  17
                                             INSURANCE FUND’S SPECIAL
  18                                         MOTION TO STRIKE STATE
  19        vs.                              LAW CAUSE OF ACTION
                                             PURSUANT TO CALIFORNIA
  20                                         CODE OF CIVIL PROCEDURE
  21                                         SECTION 425.16
       STATE COMPENSATION
  22                                         Hearing Date:       October 15, 2018
       INSURANCE FUND, a California
  23   Corporation; EXPRESS SCRIPTS, INC.,   Time:               9:00 a.m.
                                             Judge:              R. Gary Klausner
  24
       a Delaware Corporation and DOES 1     Courtroom:          850
       through 10, inclusive,
  25
  26                   Defendants.
  27
  28


                                                     CASE NO.: 2:18-cv-03867-RGK-SK
           STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                      STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 2 of 15 Page ID #:1232




   1                                             TABLE OF CONTENTS
   2                                                                                                                  PAGE(S)
   3   TABLE OF CONTENTS ........................................................................................... i
   4   TABLE OF AUTHORITIES .......................................................................... ii, iii, iv
   5       I.      INTRODUCTION ....................................................................................... 1
   6       II.     PLAINTIFF’S FAC SHOULD BE STRICKEN BECAUSE IT
   7               IMPERMISSIBLY BURDEN’S STATE FUND’S CONSTITUTIONAL
   8               RIGHTS AND PLAINTIFF CANNOT SHOW ANY PROBABILITY
   9               OF PREVAILING ....................................................................................... 2
  10               A. Plaintiff’s Lawsuit Attempts to Chill State Fund’s Valid Exercise
  11                    of its Right to Petition the Government for Redress of Grievances
  12                    Because it Seeks to Bar State Fund From Litigating Whether State
  13                    Fund Must Pay For Medication Dispensed in Violation of State
  14                    Fund’s Pharmacy Benefit Network Policy ........................................... 2
  15                    1. Litigation Before the WCAB is a Judicial Proceeding and
  16                        Entitled to Protection Under Anti-SLAPP. ...................................... 3
  17                    2. There is No Preclusive Effect From the Case Cited
  18                        by Plaintiffs ..................................................................................... 5
  19               B. Plaintiff Has Not Pled A Legally-Cognizable Claim and Therefore
  20                    Cannot Show Any Possibility of Prevailing ......................................... 6
  21                    1. The Noerr-Pennington Doctrine is Dispositive And Protects
  22                        State Fund’s Litigation Activities Before the WCAB .................... 6
  23                    2. Plaintiff Cannot Plead Itself Out of the Workers’
  24                        Compensation Exclusivity Doctrine and This Court Should
  25                        Find No RICO Action Here ............................................................ 9
  26               C. The Court Should Both Dismiss And Strike Paintiff’s FAC ................ 9
  27       III. CONCLUSION ......................................................................................... 10
  28

                                                                    i
                                                          CASE NO.: 2:18-cv-03867-RGK-SK
                STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                           STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 3 of 15 Page ID #:1233



                                                  TABLE OF AUTHORITIES
   1
       CASES                                                                                                     PAGE(S)
   2
   3   Angelotti Chiropractic v. Baker
       791 F.3d 1075 (2015) ................................................................................................ 3
   4
       Baral v. Schnit
   5   1 Cal.5th 376 (2016) .................................................................................................. 4
   6
       Barry v. State Bar of Cal
   7
       2 Cal.5th 318 (2017) ................................................................................................ 10
   8
   9
       Batzel v. Smith
       333 F.3d 1018 (9th Cir. 2003) ................................................................................. 10
  10
       Charles J. Vacanti, M.D., Inc. v. State Comp. Ins. Fund
  11   24 Cal.4th 800 (2001) ................................................................................................ 9
  12
       Chavez v. Mendoza
  13   94 Cal.App.4th 1083 (2001) ...................................................................................... 4
  14
       Crawford v. Workers’ Comp. Appeals Bd.
  15   213 Cal.App.3d 156 (1989) ....................................................................................... 3
  16
       EEOC v. Farmer Bros. Co.
  17
       31 F.3d 891 (1994)..................................................................................................... 1
  18
  19   Gulf States Utils. Co. v. Ecodyne Corp.
       635 F.2d 517 (5th Cir. 1981) ..................................................................................... 1
  20
  21   Healy v. Tuscany Hills Landscape & Recreation Corp.
       137 Cal.App.4th 1 (2006) .......................................................................................... 4
  22
  23   Helene Curtis v. Assessment Appeals Bd.
  24
       76 Cal.App.4th 124 (1999) ........................................................................................ 5

  25   Kashian v. Harriman
  26   98 Cal.App.4th 892 (2002) ........................................................................................ 4
  27
       Lucido v. Sup. Ct.
  28   51 Cal.3d 335 (1990) ................................................................................................. 6

                                                                    ii
                                                       CASE NO.: 2:18-cv-03867-RGK-SK
             STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                        STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 4 of 15 Page ID #:1234




   1
       Marrese v. Am. Acad. of Ortho. Surgeons
   2   470 U.S. 373 (1985)................................................................................................... 5
   3
       Moss Bros. Toy, Inc. v. Ruiz
   4
       2018 Cal.App. LEXIS 837 (Sept. 20, 2018).............................................................. 5
   5
   6
       Neder v. United States
       527 U.S. 1 (1999)....................................................................................................... 9
   7
   8   Neville v. Chudacoff
       160 Cal.App.4th 1255 (2008) .................................................................................... 4
   9
  10   Parkland Hosiery Co. v. Shore
       439 U.S. 322 (1979)................................................................................................... 6
  11
  12   Premier Med. Mgmt. Sys., Inc. v. Cal. Ins. Guar. Ass’n
  13   136 Cal.App.4th 464 (2006) .................................................................................. 4, 7
  14   Roberts v. Los Angeles Cty. Bar Ass’n.
  15   105 Cal.App.4th 604 (2003) .................................................................................... 10
  16
       Samara v. Matar
  17   5 Cal.5th 322 (2018) .................................................................................................. 5
  18
       Seltzer v. Barnes
  19   182 Cal.App.4th 953 (2010) .............................................................................. 3, 4, 8
  20
       Smith v. ExxonMobil Oil Corp.
  21
       153 Cal.App.4th 1407 (2007) .................................................................................... 6
  22
  23
       United States v. Mendoza
       446 U.S. 154 (1984)................................................................................................... 5
  24
  25   Vandenberg v. Sup. Ct.
       21 Cal.4th 815 (1999) ................................................................................................ 6
  26
       Vanguard Med. Mgmt. Billing v. Baker
  27   No. 5:17-cv-00965-GW-DTB (C.D. Cal. filed April 26, 2018) ............................... 8
  28

                                                                    iii
                                                        CASE NO.: 2:18-cv-03867-RGK-SK
              STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                         STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 5 of 15 Page ID #:1235



       STATUTES & REGULATIONS                                                                              PAGE(S)
   1
       California Code of Civil Procedure § 425.16 ................................................ 1, 3, 4, 8
   2
       California Code of Regulations, Title 8 § 9767 ........................................................ 7
   3
       California Labor Code § 3202.5 ................................................................................ 7
   4
   5   California Labor Code § 4600 ................................................................................... 8

   6   California Labor Code § 4615 ............................................................................. 8, 10
   7   California Labor Code § 4616.3 ................................................................................ 7
   8   California Labor Code § 4903 ................................................................................... 7
   9   California Labor Code § 4915 ................................................................................... 7
  10   California Labor Code § 5307.1 ............................................................................... 7
  11   California Labor Code § 5705 ................................................................................... 7
  12   Federal Rule of Civil Procedure 12 ........................................................................... 2
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
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  26
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  28

                                                                iv
                                                       CASE NO.: 2:18-cv-03867-RGK-SK
             STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                        STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 6 of 15 Page ID #:1236




   1                                            REPLY
   2   I.     INTRODUCTION
   3          Plaintiff Blue Oak Medical Group (“BOMG”) cannot dispute State
   4   Compensation Insurance Fund (“State Fund”)’s Special Motion to Strike Plaintiff’s
   5   First-Amended Complaint under Cal. Code of Civ. Pro. § 425.16 (“anti-SLAPP”), so
   6   instead Plaintiff engages in a series of logical fallacies.
   7          First, Plaintiff engages in ad hominem attacks against State Fund and its expert,
   8   Former Chief Judge Mark Kahn. Plaintiff cannot dispute the facts stated in his
   9   declaration. Instead, it chooses to attack Chief Judge Mark Kahn’s integrity and
  10   attempts to drag his good name through the mud in a desperate attempt to distract the
  11   Court from reviewing how California’s workers’ compensation laws evolved over the
  12   past century. Despite Plaintiff’s protests, Judge Kahn’s declaration is proper. It meets
  13   State Fund’s statutory obligation to support its anti-SLAPP with “affidavits.”
  14   Plaintiff’s prejudice argument is substantially without merit the motions, which were
  15   supported by the declarations, will be decided by the Court. Cf. EEOC v. Farmer
  16   Bros. Co., 31 F.3d 891, 898 (1994) (“[I]n a bench trial, the risk that a verdict will be
  17   affected unfairly or substantially by the admission of irrelevant evidence is far less
  18   than in a jury trial.”)1.
  19          Second, Plaintiff introduces an unpublished opinion in an inapposite case and
  20   argues that the case – finding Utilization Review (“UR”) was not sufficiently judicial
  21   and formal in character to subject statements made to an anti-SLAPP motion.
  22   Whereas this case deals directly with statements made in the course of ongoing
  23   litigation before the Workers’ Compensation Appeals Board (“WCAB”).
  24          Finally, it continues its nonsensical strawman argument that State Fund asserts
  25   Plaintiff cannot dispense medication to its patients. State Fund makes no such claim.
  26
  27   1
        Indeed, many courts have found it utterly illogical to exclude evidence as prejudicial
  28   where a court is the ultimate fact-finder. See Gulf States Utils. Co. v. Ecodyne Corp.,
       635 F.2d 517, 519 (5th Cir. 1981).
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                                                      CASE NO.: 2:18-cv-03867-RGK-SK
            STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                       STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 7 of 15 Page ID #:1237




   1   Plaintiff can dispense medication to whomever it wishes – however, if it wants to
   2   get paid it must comply with the law.
   3          Plaintiff spuriously alleges some secret conspiracy and collusion in effect
   4   arguing, by yelling collusion, it can wish into existence a fanciful cause of action
   5   based on imagined harm to recover theoretical property. At worst, Plaintiff’s FAC
   6   alleges State Fund failed to provide workers’ compensation benefits to individual
   7   injured workers on a case-by-case basis – run-of-the-mill treatment disputes subject to
   8   the exclusive jurisdiction of the WCAB. Worse, Plaintiff is using the judicial process
   9   to discourage and chill State Fund’s exercise of its rights of free speech and petition
  10   on a claim that has no merit. For these reasons, State Fund respectfully requests that
  11   the Court grant its anti-SLAPP motion.
  12   II.    PLAINTIFF’S       FAC      SHOULD        BE    STRICKEN         BECAUSE        IT
  13          IMPERMISSIBLY BURDEN’S STATE FUND’S CONSTITUTIONAL
  14          RIGHTS AND PLAINTIFF CANNOT SHOW ANY PROBABILITY OF
  15          PREVAILING.
  16          Plaintiff’s FAC impermissibly attempts to chill State Fund’s right to free
  17   speech and petition the government for redress of grievances. Plaintiff cannot show
  18   any probability of prevailing because, as argued further in State Fund’s Federal Rule
  19   of Civil Procedure 12(b)(6) Motion to Dismiss, it has not pled any legally-cognizable
  20   claims. Finally, Plaintiff’s argument that it cannot rule on State Fund’s anti-SLAPP
  21   motion because it would be a nullity should be rejected as it creates a perverse
  22   incentive for litigants, like Plaintiff, to flood courts with frivolous complaints. State
  23   Fund respectfully requests that the Court grant its anti-SLAPP motion.
  24          A. Plaintiff’s Lawsuit Attempts to Chill State Fund’s Valid Exercise of its
  25             Right to Petition the Government for Redress of Grievances Because it
  26             Seeks to Bar State Fund From Litigating Whether State Fund Must
  27             Pay For Medication Dispensed in Violation of State Fund’s PBN Policy
  28          It cannot be disputed that the WCAB is a constitutional court “authorized to
                                                  2
                                                       CASE NO.: 2:18-cv-03867-RGK-SK
             STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                        STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 8 of 15 Page ID #:1238




   1   exercise judicial power in all disputes arising under the Workers’ Compensation Act.”
   2   Crawford v. Workers’ Comp. Appeals Bd., 213 Cal.App.3d 156, 164 (1989). State
   3   Fund issued letters stating that any purported approval of medication is not
   4   authorization to dispense medication from the physician’s office and that injured
   5   employees must use State Fund’s ancillary benefit networks – including its Pharmacy
   6   Benefit Network (“PBN”) 2. This statement was made in the course of ongoing
   7   workers’ compensation litigation and served to protect its right to defend nonpayment
   8   to providers – like Plaintiff – who ignored California workers’ compensation law,
   9   State Fund’s policy, and its own contractual obligations by dispensing medication it
  10   prescribed directly to injured workers.
  11             1. Litigation Before the WCAB is a Judicial Proceeding and Entitled to
  12                Protection Under Anti-SLAPP.
  13         Each document submitted by State Fund was created in the course of and
  14   preparation for active litigation before the WCAB. This makes moot Plaintiff’s
  15   argument regarding pre-litigation conduct because the conduct occurred in actual
  16   litigation. The adjudication of liens is analogous to conventional litigation activity
  17   (Cf. Angelotti Chiropractic v. Baker, 791 F.3d 1075, 1084 (2015) (finding the
  18   imposition of a lien activation fee as akin to filing fees in conventional litigation))
  19   entitled to protection under anti-SLAPP. See Seltzer v. Barnes, 182 Cal.App.4th 953,
  20   958 (2010) (finding statements made to other parties in the course of pending
  21   litigation as protected under anti-SLAPP).
  22         Instructively, in Seltzer, the California Appellate Court reversed the trial court
  23   and remanded with instructions to grant the anti-SLAPP motion stating:
  24            Appellant contends this case falls under section 425.16,
                subdivision (e)(2), which includes statements made in connection
  25
                with civil court litigation. (Healy v. Tuscany Hills Landscape &
  26
  27   2
        Plaintiff, at all relevant times, agreed to be bound by the terms. See, generally,
  28   Declaration of Rick Martinez (“Martinez Decl.”); Declaration of R. Timothy
       O’Connor (“O’Connor Decl.”).
                                                    3
                                                      CASE NO.: 2:18-cv-03867-RGK-SK
            STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                       STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 9 of 15 Page ID #:1239




   1            Recreation Corp. (2006) 137 Cal.App.4th 1, 4–5 [39 Cal.Rptr.3d
                547].) Cases construing the subdivision hold that “a statement is
   2            ‘in connection with’ litigation under section 425.16, subdivision
   3            (e)(2), if it relates to the substantive issues in the litigation and is
                directed to persons having some interest in the litigation.” (Neville
   4
                v. Chudacoff (2008) 160 Cal.App.4th 1255, 1266 [73 Cal.Rptr.3d
   5            383], fn. omitted; see also Kashian v. Harriman (2002) 98
   6
                Cal.App.4th 892, 908 [120 Cal.Rptr.2d 576] [courts have adopted
                “a fairly expansive view of what constitutes litigation-related
   7            activities within the scope of section 425.16”].) Id. at 963
   8         The California Court rejected the plaintiff/respondent Seltzer’s argument on
   9   appeal that only valid communications were protected and that the communications in
  10   Seltzer were fraudulent. Id. at 964. Instead, it stated that the communications
  11   themselves were protected and that “a court must generally presume the validity of
  12   the claimed constitutional right in the first step of the anti-SLAPP analysis.” Id.
  13   (quoting Chavez v. Mendoza, 94 Cal.App.4th 1083, 1089 (2001)).
  14         State Fund and Plaintiff’s only relationship was in the context of litigation
  15   before the WCAB within California’s workers’ compensation system. See Pl.’s FAC,
  16   p. 3 ¶ 14. Any statements made between State Fund and Plaintiff necessarily occurred
  17   within the context of active litigation before the WCAB – an official judicial
  18   proceeding authorized and created by California’s legislature. See Premier Med.
  19   Mgmt. Sys., Inc. v. Cal. Ins. Guar. Ass’n, 136 Cal.App.4th 464, 477 (2006) (finding
  20   that petitioning the WCAB in the context of liens and bills is exercise of the right to
  21   petition protected by anti-SLAPP and within the Noerr-Pennington doctrine).
  22   Plaintiff cannot artfully parse out conduct and statements in the course of workers’
  23   compensation litigation and the focus is on the reality of the specific claims before the
  24   Court. See Baral v. Schnitt, 1 Cal.5th 376, 393 (2016) (“The anti-SLAPP procedures
  25   are designed to shield a defendant’s constitutionally protected conduct from the undue
  26   burden of frivolous litigation…” and “courts may rule on plaintiffs’ specific claims of
  27   protected activity, rather than reward artful pleading by ignoring such claims if they
  28   are mixed with assertions of unprotected activity.”).
                                                    4
                                                     CASE NO.: 2:18-cv-03867-RGK-SK
           STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                      STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 10 of 15 Page ID #:1240




   1         This was made clear in the recent case of Moss Bros. Toy, Inc. v. Ruiz, 2018
   2   Cal.App. LEXIS 837 (Sept. 20, 2018) (certified for partial publication), the California
   3   Appellate Court found the first prong satisfied where the stricken lawsuit was filed
   4   based on the protected activity of filing a complaint. See id. at *25. Here, the FAC is
   5   based on the protected activity of challenging Plaintiff’s conduct in defense of
   6   Plaintiff’s liens, in the course of litigation before the WCAB.
   7         Plaintiff’s entire argument ignores the background of California’s workers’
   8   compensation system and that all of the communications occur in active litigation
   9   before the WCAB. This, alone, differentiates workers’ compensation litigation from
  10   other types of insurance litigation Plaintiff cites liberally throughout its Opposition.
  11   As State Fund’s statements all occurred in the context of litigation to individuals
  12   affected by the litigation, they are protected and State Fund respectfully requests that
  13   the Court find State Fund satisfied the first prong of the anti-SLAPP inquiry.
  14             2. There is No Preclusive Effect From the Case Cited by Plaintiffs
  15         Federal courts must apply state substantive law to determine the preclusive
  16   effect of that state’s judgment in a subsequent federal lawsuit 3. Marrese v. Am. Acad.
  17   of Ortho. Surgeons, 470 U.S. 373, 380 (1985).
  18         Issue preclusion prevents parties from re-litigating previously-decided issues
  19   and applies (1) on a final judgment (2) of an identical issue (3) that was actually
  20   litigated and necessarily decided and (4) is asserted against a party to the first suit or
  21   in privity with a party in that suit. Samara v. Matar, 5 Cal.5th 322, 326-27 (2018).
  22   Where issue preclusion is invoked by a nonparty there is a danger of injustice and a
  23   court should closely examine the underlying case “to determine whether nonmutual
  24   use of the doctrine is fair and appropriate.” Vandenberg v. Sup. Ct., 21 Cal.4th 815,
  25   829-30 (1999) (citing Parkland Hosiery Co. v. Shore, 439 U.S. 322, 326-33 (1979)).
  26   3
        There is also a question of whether offensive, non-mutual claims preclusion can be
  27   asserted against a governmental agency. See United States v. Mendoza, 446 U.S. 154,
  28   162 (1984); see also Helene Curtis v. Assessment Appeals Bd., 76 Cal.App.4th 124,
       133 (1999).
                                                   5
                                                      CASE NO.: 2:18-cv-03867-RGK-SK
            STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                       STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 11 of 15 Page ID #:1241




   1   To determine whether issues are “identical,” a court looks at whether the factual
   2   allegations in the two proceedings are the same and not whether the ultimate issues or
   3   disposition is the same. Lucido v. Sup. Ct., 51 Cal.3d 335, 342 (1990). Even where a
   4   party meets the technical requirements of issue preclusion, as an equitable doctrine, it
   5   is to be applied only if application is supported by fairness and sound public policy.
   6   Smith v. ExxonMobil Oil Corp., 153 Cal.App.4th 1407, 1414 (2007).
   7         Notwithstanding Plaintiff’s assertions to the contrary, its Opposition makes
   8   clear that the factual underpinnings of this case and its cited case are not identical,
   9   this case deals with State Fund’s letters which state: “[a]uthorization of medication
  10   does not constitute approval to dispense medications from the physician’s office” to
  11   preserve State Fund’s ability to litigate the issue of payment where injured employees
  12   self-procure treatment outside of State Fund’s PBN. The Elec. Waveform Lab v. EK
  13   Health Svcs., Inc. case dealt with whether independent UR medical opinions within
  14   the Independent Medical Review (“IMR”) system were sufficiently judicial in nature
  15   to be protected by California’s anti-SLAPP law. 80 Cal. Comp. Cases 87, 98 (2nd
  16   Dist. Ct. of Appeal, Feb. 11, 2015) (“UR review is medical rather than legal and
  17   informal rather than formal.”) Here, State Fund’s actions were taken in the course of
  18   litigation in a judicial forum so that the issues of reasonableness, medical necessity,
  19   and other ancillary issues regarding entitlement to payment (e.g., failure to dispense
  20   medication through the PBN) would be preserved and adjudicated by the WCAB.
  21         The issues are not identical and State Fund respectfully requests that the Court
  22   decline application of issue preclusion in this case.
  23         B. Plaintiff Has Not Pled A Legally-Cognizable Claim and Therefore
  24             Cannot Show Any Possibility of Prevailing
  25             1. The Noerr-Pennington Doctrine is Dispositive And Protects State Fund’s
  26                Litigation Activities Before the WCAB
  27         In Premier Med. Mgmt. Sys., Inc., California’s appellate court found the Noerr-
  28   Pennington doctrine applied to conduct before the WCAB to protect actions which
                                                   6
                                                      CASE NO.: 2:18-cv-03867-RGK-SK
            STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                       STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 12 of 15 Page ID #:1242




   1   “took place in anticipation of, or during, proceedings before the WCAB.” 136
   2   Cal.App.4th at 478. Similarly, all of the proceedings here took place during
   3   proceedings before the WCAB. Each of the forms attached to Plaintiff’s Opposition
   4   are DWC Form Documents created during the course of workers’ compensation
   5   litigation.
   6          Plaintiff, again, argues that where State Fund approves medication it must pay
   7   for that medication without regard to how the medication was dispensed. This is
   8   simply false. There are several procedural deficiencies which can render an otherwise
   9   technically compliant bill as unpayable including, among others:
  10       • Non-compliance with Labor Code Section 4903.8(d) which requires liens to be
  11          filed with a declaration under penalty of perjury. Failure to comply with that
  12          code section renders the entire lien invalid. Cal. Lab. Code § 4903.8(e) (“A
  13          lien submitted… that does not comply with the requirements of this section
  14          shall be deemed invalid.”).
  15       • Subject to a stay under Labor Code Section 4915 (which stays all of the liens
  16          for certain individuals charged with certain crimes) 4.
  17       • Failure to comply with the Official Medical Fee Schedule under Labor Code
  18          Section 5307.1(a)(1). See Cal. Lab. Code §§ 5705 & 3202.5.
  19       • Failure to comply with applicable MPN and ancillary benefit network laws and
  20          regulations (including those which apply to PBNs). See Cal. Lab. Code §
  21          4616.3(b) (requiring treatment within a valid MPN); see also 8 Cal. Code of
  22          Regs. § 9767.3 (permitting MPN applicants to apply and provide ancillary
  23          services through a provider network); 8 Cal. Code of Regs. § 9767.1(a)(1)
  24          (defining “Ancillary services” as any medical service or good allowed in
  25
       4
  26
        Of which Plaintiff is aware as Plaintiff is represented at the WCAB by its very
       Attorneys of Record in this case. See Au-Yeung Declaration, pp. 2-3 ¶¶ 2-7
  27   (Appearance on 9/21 by Attorney David Carman at Plaintiff’s WCAB Hearing); See
  28   also Declaration of O’Connor Decl., pp. 5-7 ¶¶ 9-13 (Pleadings from the underlying
       WCAB litigation and bills for dates of service signed by Dr. Goubron after his death).
                                                   7
                                                      CASE NO.: 2:18-cv-03867-RGK-SK
            STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                       STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 13 of 15 Page ID #:1243




   1          Labor Code Section 4600 – including pharmaceutical services).
   2         Plaintiff’s argues that a workers’ compensation defendant is not entitled to
   3   raise any of the above defenses. This nonsensical argument – that once treatment is
   4   authorized a defendant must pay regardless of who provides the treatment or how the
   5   treatment is provided – would render all of the above meaningless and toothless.
   6   Furthermore, it would subject employers and insurers to civil racketeering liability for
   7   even raising these defenses. Not only is Plaintiff’s argument wrong, it is precisely the
   8   type of conduct envisioned by California’s legislature when it enacted the anti-
   9   SLAPP laws. The Legislature found many lawsuits were brought primarily “‘to chill
  10   the valid exercise of… freedom of speech and petition for redress of grievances.’”
  11   Cal. Code of Civ. Pro. § 425.16(a). In an effort to “eliminate meritless or retaliatory
  12   lawsuits” the statute “directs the trial court to grant the special motion to strike
  13   ‘unless the court determines that plaintiff has established” a probability of prevailing
  14   on the claim. Seltzer, 182 Cal.App.4th at 960 (internal quotations and citations
  15   omitted).
  16         Plaintiff’s Opposition brazenly, and without any legal support, argues that the
  17   law disallows any inquiry into the practices of lien claimants once an insurer approves
  18   treatment. Their imagined interpretation of California’s workers’ compensation laws
  19   would disallow State Fund – and any workers’ compensation actor – from enforcing
  20   laws and regulations directed at eliminating fraud from the workers’ compensation
  21   system. See, generally, Vanguard Med. Mgmt. Billing v. Baker, No. 5:17-cv-00965-
  22   GW-DTB (C.D. Cal. filed April 26, 2018) (Order On Defendant’s Motion to Dismiss)
  23   (rejecting Plaintiffs’ substantive due process argument and stating Cal. Lab. Code §
  24   4615 was justified to prevent fraud and “halt[] the ability of criminally charged
  25   providers to profit from already-filed workers’ compensation claims that may be
  26   fraudulent.”).
  27         Plaintiff’s position is wrong, unsupported, and dangerous. Therefore, State
  28   Fund respectfully requests that the Court reject Plaintiff’s position and find that State
                                                  8
                                                      CASE NO.: 2:18-cv-03867-RGK-SK
            STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                       STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 14 of 15 Page ID #:1244




   1   Fund, even where it approved treatment, could still challenge procedural aspects –
   2   including how medication was dispensed – in litigation before the WCAB.
   3            2. Plaintiff Cannot Plead Itself Out of the Workers’ Compensation
   4                Exclusivity Doctrine and This Court Should Find No RICO Action Here
   5         Plaintiff engages in circular logic arguing that RICO is not subject to workers’
   6   compensation exclusivity, Plaintiff alleged violation of RICO, and therefore
   7   Plaintiff’s claims are not subject to exclusivity. The Vacanti decision stands for the
   8   unremarkable proposition that where a Plaintiff pleads a legally-cognizable claim for
   9   RICO, that claim is not barred under California’s workers’ compensation exclusivity
  10   laws. See 24 Cal.4th at 826 (“The pattern of racketeering activity necessary to
  11   establish a RICO enterprise always falls outside the scope of the bargain.”). Here,
  12   Plaintiff has not pled a legally cognizable RICO claim premised on the predicate acts
  13   of mail and wire fraud. Such a claim requires Plaintiff to adequately plead fraud
  14   which requires the “misrepresentation or concealment of material fact.” See Order Re:
  15   Defendant State Fund’s Special Motion to Strike (DE 27); Defendant State Fund’s
  16   Motion to Dismiss (DE 29); Defendant Express Scripts, Inc.’s Motion to Dismiss (DE
  17   31), D.E. 47 (“Order Granting Motion to Strike”), p. 8 ¶ 5 (citing Neder v. United
  18   States, 527 U.S. 1, 22-23 (1999)). As early as November 1, 2015, and in each
  19   subsequent communication, Plaintiff was informed that State Fund would only pay
  20   for medication if dispensed through its PBN. There is no misrepresentation or
  21   concealment and therefore no fraud or RICO 5.
  22         For these reasons, State Fund respectfully requests that the Court strike
  23   Plaintiff’s FAC.
  24         C. The Court Should Both Dismiss and Strike Plaintiff’s FAC.
  25         California anti-SLAPP law states that the violation is in the filing of the
  26
  27   5
         This is true even assuming, arguendo, that Plaintiff’s assertion of law is correct –
  28   that State Fund cannot enforce its policy requiring medication be dispensed through
       its PBN because there is still no fraud in this case.
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                                                     CASE NO.: 2:18-cv-03867-RGK-SK
           STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                      STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
Case 2:18-cv-03867-RGK-SK Document 60 Filed 10/01/18 Page 15 of 15 Page ID #:1245




   1   offensive complaint and a court may render a decision on an anti-SLAPP motion even
   2   where the offensive complaint is later amended (Roberts v. Los Angeles Cty. Bar
   3   Ass’n., 105 Cal.App.4th 604 (2003)) and where the court lacks subject-matter
   4   jurisdiction in the first instance (Barry v. State Bar of Cal., 2 Cal.5th 318 (2017). As
   5   anti-SLAPP is a substantive law and interpretation is subject to deference under the
   6   Erie doctrine 6, State Fund respectfully requests that the Court reject Plaintiff’s nullity
   7   argument and find itself empowered to rule on State Fund’s anti-SLAPP motion.
   8   III.    CONCLUSION
   9           Plaintiff’s FAC is a desperate attempt to collect money which it is currently
  10   legally barred from collecting. Plaintiff’s Executive Director, Shannon Devane, was
  11   criminally charged with various counts of insurance fraud and its liens are currently
  12   stayed under Labor Code Section 4615. Plaintiff’s Opposition makes clear that it
  13   believes it is entitled to payment for dispensing medication and furthermore argues
  14   that payment is not subject to any judicial scrutiny once authorized. Plaintiff should
  15   not be rewarded for committing criminal insurance fraud and State Fund respectfully
  16   requests that the Court strike Plaintiff’s FAC.
  17
  18   Dated: October 1, 2018           NOAH GRAFF
                                        Assistant Chief Counsel
  19
  20                                    /s/ R. Timothy O’Connor
                                        R. Timothy O’Connor
  21
                                        John B. de Leon
  22                                    Attorneys for Defendant
  23
                                        STATE COMPENSATION INSURANCE FUND

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  27   6
        The Ninth Circuit has applied the Erie doctrine and found it permits interlocutory
  28   appeals of denials of anti-SLAPP (Batzel v. Smith, 333 F.3d 1018, 1025-26 (9th Cir.
       2003)) even where such an appeal would not be permissible under federal rules.
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                                                        CASE NO.: 2:18-cv-03867-RGK-SK
              STATE FUND’S REPLY TO PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO
                         STRIKE UNDER CAL. CODE OF CIV. PRO. § 425.16
